Filed 07/02/19                           Case 19-22882                                    Doc 17



       1                     UNITED STATES BANKRUPTCY COURT                      1

       2                     EASTERN DISTRICT OF CALIFORNIA L
                                                            UNrTEDSTArcS0th%3U TCYCOtJT

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       4   In re:                                    Case No. 19-22882-B-7

       5   RENEE MARIE MENDOZA,
       6
                                  Debtor(s).
       7

       8               ORDER DENYING MOTION TO COMPEL ABANDONMENT

       9
     10          Debtor has filed a motion to compel abandonment in real

     11    property commonly known as 405 Gibson Road, Woodland, CA. Debtor
     12    claims a partial ownership interest in the property. In the
     13    motion and the declaration, debtor states she has claimed an
     14    exemption of $100,000 in the property. However, a review of

     15    Schedule C indicates no exemption has been claimed. Accordingly,
     16          IT IS ORDERED that the motion to compel abandonment is

     17    DENIED.

     18          Dated: July 2, 2019.

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                                   U1'TTES BANKtJPTCY JUDGE
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Filed 07/02/19                            Case 19-22882                 Doc 17



       1                         INSTRUCTIONS TO CLERK OF COURT
                                          SERVICE LIST
       2
                The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:

       4   Harry D. Roth
           189 First St
       5   Woodland CA 95695
       6
           Alan S. Fukushima
       7   770 L Street, #950
           Sacramento CA 95814
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